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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANE DOE,

                                Plaintiff,
                                                                24 CIVIL 8097 (LTS)
                    -against-

 MARRIOT (VISTANA, SHERATON, ET                               CIVIL JUDGMENT
 AL.); MARRIOT OWNERSHIP RESORTS,

                                Defendants.

       For the reasons stated in the Court’s Order of Dismissal dated December 3, 2024, this

action is dismissed. The Court dismisses this complaint without prejudice to Plaintiffs pending

case under docket number 24-CV-8027. Plaintiff is not required to respond to the Court

November 7, 2024 order in this case.


Dated: New York, New York

        December 9, 2024


                                                                TAMMI M. HELLWIG
                                                                   Clerk of Court


                                                      BY:
                                                             _________________________
                                                                     Deputy Clerk
